Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 1 of 10 PageID: 31




13,294.1J
James R. Birchmeier, Esquire
Attorney ID#: 022921986
BIRCHMEIER & POWELL LLC
1891 State Highway 50
P.O. Box 582
Tuckahoe, NJ 08250
Attorneys for Defendants, City of Wildwood and Officer Robert Jordan

 EMILY WEINMAN,                                          UNITED STATES DISTRICT COURT
                                                            DISTRICT OF NEW JERSEY
                           Plaintiff,                          CAMDEN VICINAGE
 v.
                                                             Civil Action No. 1:19-cv-18948
 OFFICER THOMAS CANNON;                                                 (RBK/KMW)
 OFFICER ROBERT JORDAN;
 LIEUTENANT KENNETH GALLAGHER;                              ANSWER AND SEPARATE
 AND CITY OF WILDWOOD,                                      DEFENSES ON BEHALF OF
                                                        DEFENDANTS, CITY OF WILDWOOD
                           Defendants.                   AND OFFICER ROBERT JORDAN



       The Defendants, City of Wildwood and Officer Robert Jordan, by way of Answer to the

Plaintiff’s Complaint hereby states as follows:

                                          INTRODUCTION

       1.        Denied.

       2.        Denied.

       3.        Denied.

       4.        Denied.

       5.        Denied.

       6.        It is admitted that the plaintiff pled guilty to an offense under the laws of the State

of New Jersey.

       7.        Denied.




                                                  -1-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 2 of 10 PageID: 32




                                             PARTIES

        8.       The allegations contained in this paragraph are neither admitted nor denied and

plaintiff is left to strict proofs.

        9.       It is admitted that, at the time of the events alleged in the Complaint, the

defendant Jordan was an employee of the City of Wildwood as a Police Officer.

        10.      Admitted.

                                      JURISDICTION AND VENUE

        11.      It is admitted that, at the time of the events alleged in the Complaint, the

defendant Jordan was an employee of the City of Wildwood as a Police Officer.

        12.      Admitted.

        13.      The allegations contained in this paragraph are neither admitted nor denied and

plaintiff is left to strict proofs.

        14.      The allegations contained in this paragraph are neither admitted nor denied and

plaintiff is left to strict proofs.

        15.      Denied.

                                       FACTUAL ALLEGATIONS

        16.      Repeated allegations are answered as heretofore.

        17.      The allegations contained in this paragraph are neither admitted nor denied and

plaintiff is left to strict proofs.

        18.      It is admitted that the defendant Jordan came in contact with the plaintiff on May

25, 2018.

        19.      Admitted.

        20.      Denied.




                                                -2-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 3 of 10 PageID: 33




        21.      The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

        22.      The allegations contained in this paragraph are neither admitted nor denied and

plaintiff is left to strict proofs.

        23.      Denied.

        24.      The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

        25.      Denied.

        26.      The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

        27.      The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

        28.      Denied.

        29.      Denied.

        30.      It is admitted that a portion of this incident can be viewed at the referenced

website.

        31.      Denied as the plaintiff who was arrested and charged with criminal offenses in the

State of New Jersey.

        32.      Denied.

        33.      Denied.

        34.      Denied.

        35.      Denied.

        36.      Denied.

        37.      Denied.




                                                -3-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 4 of 10 PageID: 34




        38.      The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

        39.      The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

        40.      It is admitted that the plaintiff was charged with additional indictable offenses.

        41.      Admitted.

                                      Wildwood Police Department

        42.      Denied.

        43.      The allegations contained in this paragraph are neither admitted nor denied and

plaintiff is left to strict proofs.

        44.      The allegations contained in this paragraph are neither admitted nor denied and

plaintiff is left to strict proofs.

        45.      Denied.

        46.      Denied.

        47.      Denied.

        48.      It is denied that the City has a reckless disregard and indifference to its use of

force. As to the remaining allegations in this paragraph, the plaintiff is left to her strict proofs.

        49.      Denied.

        50.      Denied that the officers used unreasonable force.

        51.      Denied.

                                              COUNT I
                                  42 U.S.C. §1983 – Excessive Force

        52.      Denied.

        53.      Denied.

        54.      Denied.



                                                 -4-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 5 of 10 PageID: 35




      55.   Denied.

                                   COUNT II
            42 U.S.C. §1983 – Due process: fabricated evidence claim

      56.   Repeated allegations are answered as heretofore.

      57.   Denied.

      58.   Denied.

      59.   Denied.

      60.   Denied.

                                     COUNT III
                        42 U.S.C. §1983 – Failure to Intervene

      61.   Repeated allegations are answered as heretofore.

      62.   Denied.

      63.   Denied.

      64.   Denied.

                                      COUNT IV
                            42 U.S.C. §1983 – Conspiracy

      65.   Repeated allegations are answered as heretofore.

      66.   Denied.

      67.   Denied.

      68.   Denied.

      69.   Denied.

      70.   Denied.

      71.   Denied.

                                         COUNT V
                           42 U.S.C. §1983 – Monell Claim

      73.   Admitted.




                                          -5-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 6 of 10 PageID: 36




      74.    Denied.

      75.    Denied.

      76.    Denied.

      77.    Denied.

      78.    Denied.

      79.    Denied.

      80.    Denied.

                                       COUNT VI
                         State Law Claim – Assault and Battery

      81.    Repeated allegations are answered as heretofore.

      82.    Denied.

      83.    The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

      84.    The allegations contained in this paragraph do not apply to answering defendants

and no answer is made.

      85.    Denied.

      86.    Denied.

      87.    Denied.

                                     COUNT VII
                          State Law Claim – Civil Conspiracy

      88.    Repeated allegations are answered as heretofore.

      89.    Denied.

      90.    Denied.

      91.    Denied.

      92.    Denied.




                                           -6-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 7 of 10 PageID: 37




         93.   Denied.

         94.   Denied.

                                     PUNITIVE DAMAGES

         95.   Denied.

                                            DAMAGES

         96.   Denied.

                                     SEPARATE DEFENSES

         1.    Answering defendants were guilty of no negligence.

         2.    Answering defendants performed each and every duty and obligation owed to

plaintiff.

         3.    Plaintiff’s State law claims are barred by failure to comply with the Notice of Claims

Provision of the New Jersey Tort Claims Act, N.J.S. 59:1-1, et seq.

         4.    This action is barred by Public Policy.

         5.    The Complaint fails to state a claim upon which relief may be granted.

         6.    The claims set forth against answering defendants are barred by the provisions of

the “Fireman’s Rule” and/or “Policeman’s Rule”.

         7.    These defendants invoke the immunity afforded to it pursuant to N.J.S. 59:2-1,

general public immunity.

         8.    These defendants invoke the immunity afforded to it pursuant to N.J.S. 59:2-3,

discretionary immunity.

         9.    These defendants invoke the immunity afforded to it pursuant to N.J.S. 59:3-1,

general public immunity for public employees.

         10.   These defendants invoke the immunity afforded to it pursuant to N.J.S. 59:3-2,

discretionary immunity.




                                                -7-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 8 of 10 PageID: 38




       11.     These defendants invoke the immunity afforded to it pursuant to N.J.S. 59:3-3,

execution or enforcement of laws immunity.

       12.     These defendants invoke the immunity afforded to it pursuant to N.J.S. 59:9-2(d),

threshold immunity.

       13.     These defendants invoke each and every other right, title, privilege and/or

immunity available to it pursuant to the Tort Claims Act, N.J.S. 59:1-1, et seq.

       14.     This action is barred by the Doctrine of Sovereign Immunity.

       15.     This action is barred by the Doctrine of Qualified Immunity.

       16.     This action is barred by the Doctrine of Partial Immunity.

       17.     These defendants acted at all times in good faith.

       18.     These defendants acted at all times with probable cause.

       19.     These defendants invoke the Doctrine of Community Caretaking Immunity.

       20.     All claims for punitive damages are barred.

       21.     The Complaint states no substantial Federal law question.

       22.     The Complaint states no substantial State law question.

       23.     Plaintiff has not been deprived of any right, privilege or immunity secured to her

by the United States Constitution or any act of Congress.

       24.     Plaintiff has not been deprived of any right, privilege or immunity secured to her

by the New Jersey State Constitution or any act of the New Jersey State Legislature.

       25.     Insofar as plaintiff asserts claims regarding his arrest, this defendant is immune

from suit since probable cause existed.

       26.     This action is barred by the Doctrine of Unclean Hands.

       27.     These defendants are not liable to the plaintiff because this defendants’ acts

and/or omissions were objectively reasonable at all times.




                                               -8-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 9 of 10 PageID: 39




         28.    All claims of respondeat superior are barred by law.

         29.    These defendants have no policy, custom or procedure that amounts to deliberate

indifference.

         30.    Negligence is not legally cognizable under civil rights actions, both Federal and

State.

         31.    These defendants reserve the right to interpose any and all such additional

defenses as continuing investigation and discovery may warrant.

                                              JURY DEMAND

         TAKE NOTICE THAT ANSWERING DEFENDANTS DEMANDS A TRIAL BY JURY.

                                         CERTIFICATION

         It is hereby certified that a copy of this Answer was served on December 5, 2019, within

the time prescribed by the Federal Rules of Civil Procedure.

         Pursuant to the Federal Rules of Civil Procedure, it is hereby certified that to the best of

my knowledge, there are no other pending actions or proceedings involving the matter in

controversy, none are contemplated, and I do not presently know the identity of any other party

who should be joined.

                                               BIRCHMEIER & POWELL LLC


Dated: December 5, 2019                        BY:/s/James R. Birchmeier ________
                                                  JAMES R. BIRCHMEIER, ESQUIRE
                                                  Attorneys for Defendants, City of Wildwood
                                                  and Officer Robert Jordan




                                                -9-
Case 1:19-cv-18948-JHS-CSMW Document 8 Filed 12/05/19 Page 10 of 10 PageID: 40




                             DESIGNATION OF TRIAL COUNSEL

        Please be notified that pursuant to the Federal Rules of Civil Procedure, James R.

 Birchmeier, Esquire, is hereby designated as trial counsel in the above captioned litigation on

 behalf of the firm of Birchmeier & Powell, LLC attorneys for Defendants, City of Wildwood and

 Officer Robert Jordan.

                                            BIRCHMEIER & POWELL LLC


 Dated: December 5, 2019                    BY:/s/James R. Birchmeier ________
                                               JAMES R. BIRCHMEIER, ESQUIRE
                                               Attorneys for Defendants, City of Wildwood
                                               and Officer Robert Jordan




                                             - 10 -
